
242 P.3d 810 (2010)
In re the WELFARE OF A.G. and L.S.
No. 84631-6.
Supreme Court of Washington.
October 8, 2010.

ORDER
¶ 1 Department II of the Court, composed of Chief Justice Madsen and Justices Alexander, Chambers, Fairhurst and Stephens, considered this matter at its October 5, 2010, Motion Calendar and unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the Petitioner's Motion for Discretionary Review is granted and the matter is remanded to the Court of Appeals Division Three for reconsideration in light of In re the Welfare of A.B., 168 Wash.2d 908, 232 P.3d 1104 (2010).
For the Court
  /s/ Madsen, C.J.
  CHIEF JUSTICE
